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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION


UNITED STATES OF AMERICA,

                        Plaintiff,

v.                                                                      Case No. 3:10cr101/MCR


DENNIS M. CARONI,

                Defendant.
_______________________________/

                                               ORDER

        The defendant was indicted on or about September 22, 2010, for conspiracy to
dispense controlled substances in violation of 21 U.S.C. § 841(b)(1)(C) and conspiracy to
commit money laundering in violation of 18 U.S.C. § 1956(a)(1)(A)(I) and (h). On March
28, 2011, the parties appeared before the court on the defendant’s Amended Motion to
Produce Evidence Favorable to the Accused (doc. 136). At the hearing, the defendant
argued, among other things, that he is entitled to disclosure of the identity of a Source of
Information (“SOI”) identified in a report prepared by Donald Nides, a Drug Enforcement
Agency (“DEA”) task force officer. According to the defendant, the SOI contacted Nides
and provided information regarding a pain management clinic owned by the defendant.
Specifically, the defendant contends that the SOI informed Nides that the defendant
instituted stricter guidelines for accepting new patients after Hurricane Katrina, evidence
the defendant considers to be significant and exculpatory.1 The government resisted the
defendant’s request for the information, maintaining that it is prohibited by the DEA’s



        1
           The government does not dispute the defendant’s factual representations regarding the contents
of Nides’ report.

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confidentiality policy from disclosing the identity of the SOI.2
        Because the issue had not previously been raised, the court allowed the defendant
to supplement his motion with argument and authority regarding his right to disclosure of
the SOI’s identity (doc. 181). In his supplemental motion, the defendant argued that his
need for the potentially exculpatory information overrides any privilege the government may
assert.     The government disagreed, asserting the need to protect the anonymity of
informants and the fact that the information is readily available to the defendant from other
sources, including employees, patient records, and prescribing physicians. Notably, the
government also advised that its counsel had contacted Nides, furnished him with a copy
of the report in question, and asked him directly if he would be able to identify the SOI if
ordered to do so. According to the government, Nides responded that he could not.3
Based on the government’s representation regarding Nides’ inability to identify the SOI, the
undersigned entered an order setting forth her belief that the defendant’s motion was moot,
but allowing the parties an opportunity to argue otherwise (doc. 194). The defendant
responded to the court’s order, stating his position that the motion was not moot and
suggesting that Nides may have been less than candid when representing that he was
unable to identify the SOI. The defendant requested that the court conduct an evidentiary
hearing and order Nides to produce notes and other documents containing information
provided by the SOI or information that could be used to identify the SOI. According to the
defendant, even if Nides does not know the identity of the SOI, his testimony “could prove
to be a crucial link to the identity and location of at least one important defense witness.”
        The court accepts the government’s representation that Nides is unable to identify
the SOI and therefore is not inclined to hold a hearing so the defendant can conduct what

        2
             As the Supreme Court explained in Roviaro v. United States, 353 U.S. 53, 59 (1957), the
government has a privilege to “withhold from disclosure the identity of persons who furnish information for
violations of law to officers charged with enforcement of that law . . . The privilege recognizes the obligation
of citizens to communicate their knowledge of the commission of crimes to law-enforcement officials and, by
preserving their anonymity, encourages them to perform that obligation.” Id.
        3
           The government explained at the hearing and in its response to the defendant’s supplemental
motion that the informants do not always identify themselves and, instead, sometimes choose to provide
information anonymously and are told they may do so.

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essentially would be an unauthorized discovery deposition. Out of an abundance of
caution, however, the court directs the government to produce to the court an affidavit from
Nides regarding his ability – or lack thereof – to identify the SOI at issue, as well as notes
and any other documents Nides prepared containing information provided by the SOI
and/or the SOI’s identity. The notes/documents should be filed under seal. Once the court
receives the documents, it will promptly review them in camera to determine whether they
contain information from which the SOI’s identity can be deduced. If the identity is
ascertainable, the court will then consider whether the defendant’s need for the information
outweighs the government’s privilege to withhold the information.4
        Accordingly, it is hereby ORDERED that the government shall produce to the court
within fourteen (14) days from the date of this order an affidavit and notes and other
documents prepared by Nides regarding information provided by the SOI at issue and/or
the SOI’s identity so that the court can review them in camera for the purposes discussed




        4
            According to Roviaro, “[w]here the disclosure of an informer's identity, or of the contents of his
communication, is relevant and helpful to the defense of an accused, or is essential to a fair determination of
a cause, the privilege must give way.” 353 U.S. at 60-61; see also United States v. Alzate, 279 Fed. Appx.
783, 784-85 (11th Cir. 2008). There is no “fixed rule with respect to disclosure,” however, and the court must
“balanc[e] the public interest in protecting the flow of information against the individual's right to prepare his
defense . . . taking into consideration the crime charged, the possible defenses, the possible significance of
the informer's testimony, and other relevant factors.” Roviaro, 353 U.S. at 62. The Eleventh Circuit has
focused the inquiry on the extent of the informant’s participation in the crime, the directness of the relationship
between the defendant’s asserted defense and the informant’s anticipated testimony, and the government’s
interest in non-disclosure. See Alzate, 279 Fed. Appx. at 785. “When the confidential informant is not ‘an
active participant in the criminal activity, but only a tipster, disclosure of the identity is not required. . . . ‘”
United States v. Varella, 692 F.2d 1352, 1355-56 (11th Cir. 1982) (quoting United States v. Moreno, 588 F.2d
490, 494 (5th Cir.1979)). “‘Thus, even though an informant is present during a critical transaction, the fact that
he does not actively participate favors nondisclosure.’” Id. at 1356 (quoting United States v. Gonzales, 606
F.2d 70, 75 (5th Cir. 1980)). “Conversely, where an informer has played a crucial role in the alleged criminal
transaction, then disclosure and production of the informer are required to ensure a fair trial. Id. “And, in
cases where there exists a slight possibility that the defendant might benefit from disclosure, although the
informant is more than a mere tipster in the criminal transaction, the law favors nondisclosure where the
government can demonstrate a compelling need to protect its informer.” Id.




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above.
      DONE AND ORDERED this 10th day of May, 2011.




                                        M. Casey Rodgers
                                        M. CASEY RODGERS
                                        UNITED STATES DISTRICT JUDGE




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